IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

NASHVILLE DIVISION
ROGER J. SPENCE, )
)
Plaintiff, )
) No.
V. ) Jury Demand
)
O’CHARLEY’S LLC, )
)
Defendant. )
COMPLAINT

Plaintiff Roger J. Spence files this Complaint for damages relating to and
resulting from discrimination in connection With his employment With O’Charley’s LLC
(“O’Charley’s”) because of his disability and/or perceived disability and in retaliation for
his asserting rights and benefits under Tennessee’s Worker’s compensation laws. Plaintiff
asserts a claim for disability discrimination in violation of the Americans With
Disabilities Act, as amended, 42 U.S.C. § 12101, et seq., (“ADA”) and the Tennessee
Disability Act, Tenn. Code Ann. § 8-50-103 (“TDA”) and a claim for retaliatory
discharge in violation of Tennessee common law. For his Complaint, plaintiff states as

follows:

IDENTIFICATION OF THE PARTlES
l. Plaintiff is a resident of Nashville, Tennessee.

2. Defendant O’Charley’s is a Tennessee limited liability company
having its principal place of business in Nashville, Tennessee. Defendant O’Charley’s

does business in Davidson County Tennessee and employed plaintiff in Davidson County

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Tennessee. Defendant can be served With process through its registered agent, CT
Corporation System, 800 South Gay Street, Suite 2021, Knoxville, Tennessee 37929-
9710.

STATEMENT OF JURISDICTION AND VENUE

3. This Court has subject matter jurisdiction over this case pursuant to
28 U.S.C. § 1331 since plaintiff asserts claims arising under the laws of the United States,
specifically the ADA. The Court has and should exercise supplemental jurisdiction over
plaintiffs state law claim.

4. Venue is proper in this Court because the acts giving rise to this
complaint occurred in an area embraced Within the l\/liddle District of Tennessee.

FACTUAL AVERMENTS

5. On September 27, 2010, plaintiff became employed With defendant
O`Charley’s as a l\/Ianager in Training and Was promoted to Assistant Kitchen Manager
on November 22, 201().

6. Plaintiff Was a good employee and performed his job duties as
Assistant Kitchen Manager in an exemplary manner.

7. On or about September l, 2011, plaintiff suffered a serious injury
to his right knee While performing his Work for defendant O’Charley’s.

8. Defendant O’Charley’s monitored plaintiffs medical care and
treatment through its Worker’s compensation claims agent, Gallagher Bassett Services,
lnc., from the beginning of his medical treatment, through his surgery and rehabilitative
physical therapy until his medical release.

9. As a result of his physical impairment that prevented him from

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walking and working, Defendant O’Charley’s placed plaintiff on Family and l\/Iedical
Leave Act leave on September 11, 201 1.

10. On September 14, 2011, plaintiffs doctor modified plaintiffs
medical restrictions to alternately sitting and standing, sitting 45 minutes per hour and no
squatting, kneeling or climbing. Again, defendant O’Charley’s informed plaintiff that it
could not accommodate his medical restrictions

11. Plaintiff underwent right knee surgery on October 20, 2011 and
post-operative medical care and rehabilitative physical therapy.

12. On November 4, 2011, plaintiffs doctor modified plaintiffs
medical restrictions to alternately sitting and standing, sitting 30 minutes per hour and no
squatting, kneeling or climbing. Plaintiffs doctor scheduled a follow up appointment for
six weeks later, on December 16, 2011.

13. Again, defendant O’Charley’s informed plaintiff that it could not
accommodate his medical restrictions

14. On December 12, 2011, four days before his final doctor’s
appointment on December 16, 2012, defendant O`Charley’s terminated plaintiffs
employment

15. On December 16, 2011, plaintiffs doctor released plaintiff to
return to full duty without any medical restrictions

16. Defendant O’Charley’s refused to engage in the interactive process
with plaintiff or to consider or grant plaintiff a reasonable accommodation of additional
unpaid leave prior to unilaterally terminating his employment because of his disability

and/or perceived disability

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17. Plaintiff filed a timely charge of discrimination (alleging disability
discrimination) with the Equal Employment Opportunity Commission (“EEOC”) and has

received the attached Notice of Right to Sue (“Notice”) from the EEOC.

Claim For Disability Discrimination In Violation of Federal and Tennessee Law

18. Plaintiff hereby incorporates and realleges the factual averments as
set forth in paragraphs 1 through 17 herein.

19. At times material to this Complaint, plaintiff suffered from a
physical impairment that substantially limited one or more of his maj or life activities

20. Defendant O’Charley’s also perceived and regarded, and at all
times material to this Complaint perceived and regarded, plaintiff as having a physical
impairment that substantially limited one or more of his major life activities

21. Plaintiff was and is able to perform the essential functions of his
job with defendant O’Charley"s with reasonable accommodations

22. Defendant O’Charley’s refused to accommodate plaintiffs
disability, failed and refused to engage in the interactive process required by the ADA
and TDA and terminated plaintiffs employment because of his disability and/or
perceived disability in violation of the ADA and TDA.

23. As a result of its actions, defendant O’Charley’s is liable to
plaintiff in an amount to be determined by the jury for the damages plaintiff has incurred
as well as for punitive damages

24. As a result of its actions, defendant O’Charley’s is liable for
plaintiffs attorney’s fees

25. As a result of its actions, defendant O’Charley’s is obligated to

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make plaintiff whole for all lost earnings and benefits

Claim for Retaliatory Discharge in Violation of Tennessee Common Law

26. Plaintiff hereby incorporates and realleges the factual averments as
set forth in paragraphs 1 through 25 herein.

27. Plaintiff was employed by defendant at the time he suffered a work
injury in the course and scope of his employment

28. Plaintiff asserted rights under Tennessee worker’s compensation
laws and made a claim against defendant for his work injury.

29. Defendant terminated plaintiffs employment in retaliation for his
asserting rights under Tennessee’s worker’s compensation laws

30. Plaintiffs claim for worker’s compensation benefits was a
substantial factor in defendant’s motivation to terminate plaintiffs employment

31. As a direct result of defendant’s actions, plaintiff has suffered
damages

32. As a result of its actions, defendant is liable to plaintiff in an
amount to be determined by the jury for the damages plaintiff has incurred.

33. As a result of its actions, defendant is liable for punitive damages

34. As a result of its actions, defendant is obligated to reinstate
plaintiff and to make him whole for all lost earnings and benefits

WHEREFORE, premises considered, plaintiff demands the following
relief:

1. An award of compensatory and punitive damages against defendant

in an amount to be determined by the jury;

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2. An award of attorneys` fees;

3. An order of reinstatement;

4. A jury for the trial of this action; and

5. Such other, further and general relief to which he may be entitled.

 

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